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                                         April 24, 2025

     VIA ECF ONLY:
     Edgardo Ramos
     U.S. District Court - Southern District of NY
     Thurgood Marshall U.S. Courthouse
     40 Foley Square
     New York, NY 10007

            Re:     Walls, Shamaah v. New York University, et al.
                    Case No.: 1:23-cv-05915-ER-KHP
                    Our File No.: 2054600

     Dear Judge Ramos:

             In accordance with the Court’s Order dated April 7, 2025, the parties write
     jointly to provide a status report. Earlier this week, on April 22, 2025, the parties
     attended a mediation at JAMS. While the case did not settle, the parties engaged in
     substantive discussions. The parties request an additional week to continue discussions
     and see if a settlement is possible.

            Thank you for your consideration in this matter.


                                          Respectfully submitted,



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     CC:    All counsel of record via ECF
